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                          UNITED STATES BANKRUPTCY COURT                        SF00075 (rev 06/2018)
                                Southern District of Indiana
                                 46 E. Ohio St., Rm. 116
                                  Indianapolis, IN 46204
In re:

ITT Educational Services, Inc.,                               Case No. 16−07207−JMC−7A
Daniel Webster College, Inc.,                                 JOINTLY ADMINISTERED
ESI Service Corp.,
             Debtors.

                                  NOTICE OF DEFICIENT FILING

A Motion to Appear Pro Hac Vice was filed on August 9, 2018, by Other Professional
Integra Construction Inc.

NOTICE IS GIVEN that the document is deficient as follows:

         Pleading should be filed in associated adversary case instead of legal case.
         Filing party to re−file in adversary case.

NOTICE IS FURTHER GIVEN that failure to cure the above deficiencies by August 24,
2018, may result in the striking of the deficient filing or the dismissal of this case without
further notice.

Dated: August 10, 2018                             Kevin P. Dempsey
                                                   Clerk, U.S. Bankruptcy Court
